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 PROB 12C - (Rev. D/NM-8/2014)                                                                           46588

                                    UNITED STATES DISTRICT COURT
                                               FOR THE
                                       DISTRICT OF NEW MEXICO

                                 Petition for Revocation of Supervised Release
 Name of Offender:                 Ernie Thomas Ortiz
 Docket Number:                    1084 1:19CR01309 -001JB
 Assigned Judge:                   Honorable James O. Browning, United States District Judge
 Date of Original Sentence:        2020-04-15
 Original Offense:                 18 U.S.C. 1071: Harboring a Fugitive

                                    18 U.S.C. 1344(2): Bank Fraud 18 U.S.C. 1028(a)(1): Aggravated Identity
                                    Theft
 Original Sentence:                 BOP: 25 Months; TSR:3 Years
 Date Supervision                   01/20/2021
 Commenced:
 Date Supervision Expires:          01/19/2024
 Other Court Action:                None.


                                         PETITIONING THE COURT

 No warrant requested. Emergency warrant issued.

 U.S. Probation Officer of the Court, Karina L Villalobos, alleges the offender has violated the following
 condition(s) of supervised release.

 Violation      Nature of Noncompliance
 Type


 SPC            You must reside in a residential reentry center for a term of six (6) months. You must follow
                the rules and regulations of the center.

                On Friday February 19, 2021, the United States Probation Office received a call from the
                Diersen Charities Residential Reentry Center (RRC) in Albuquerque, New Mexico, advising the
                offender absconded from the facility. At 7:55 PM the offender walked out of the patio door and
                headed west on Menaul Boulevard. As a result, the offender was unsuccessfully terminated from
                the program. The offender’s current whereabouts are unknown.


The maximum statutory penalty: 3 years imprisonment; 5 years supervised release. Underlying offense is a Class
B Felony.

The revocation range of imprisonment: 6 to 12 months. Criminal History Category IV. Class C Felony.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 02/22/2021.
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Submitted:                                       Approved:                        ☒ Phone Approval




Karina L Villalobos                              Jack E. Burkhead
U.S. Probation Officer                           505-224-1424
Cell #: 505-508-9334                             Supervisory Assistant U.S. Attorney


                                                 Date: 02/22/2021




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